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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-03170-PAB-NRN

  FALLEN PRODUCTIONS, INC.,

  Plaintiff,

  v.

  ANDREW PATERSON et al.,

  Defendants.

                                      MINUTE ORDER

  Entered by Magistrate Judge N. Reid Neureiter

        Finding good cause shown, it is HEREBY ORDERED that Second Motion to
  Vacate Scheduling/Planning Conference Date (Dkt. #43) is GRANTED.

      The Telephonic Scheduling Conference set on March 5, 2021 at 10:30 a.m. is
  VACATED and RESET to April 28, 2021 at 10:00 a.m.

         Plaintiff is directed to notify all Defendants, as they are served, of the date and
  time for the Scheduling Conference. The parties are directed to refer to the Order
  Setting Scheduling Planning Conference, Dkt. #7, for instructions and deadlines relating
  to the parties’ obligations under Rules 16 and 26, Fed. R. Civ. P. and Local Rules 16
  and 26.

        The parties are directed to call the conference line as a participant at (888) 398-
  2342, Access Code 5755390# at the scheduled time.

  Date: February 9, 2021
